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                   EXHIBIT A




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                                                                       Electronically FILED by
1    Mark Potter Esq., SBN 166317                                      Superior Court of California,
     Krista Hemming, SBN 304213                                        County of Los Angeles
2                                                                      3/24/2025 12:00 AM
     POTTER HANDY, LLP                                                 David W. Slayton,

3
     100 Pine Street, Ste. 1250                                        Executive Officer/Clerk of Court,
                                                                       By G. Cordon, Deputy Clerk
     San Francisco, CA 94111
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5    Attorneys for Plaintiffs
6

7                   SUPERIOR COURT FOR THE STATE OF CALIFORNIA

8
                                      COUNTY OF LOS ANGELES

9     Victor Smith, (See additional parties list                 2 5ST CV O 8 58 3
                                                       CASE NO. ________________________
10    with plaintiffs attached)
                                                       [UNLIMITED] COMPLAINT FOR
11                      Plaintiffs,                    DAMAGES

12                      vs.                            1. VIOLATION OF THE
                                                       ELECTRONIC COMMUNICATIONS
13
      WHALECO, Inc., d/b/a TEMU; PDD                   PRIVACY ACT OF 1986 (ECPA);
14    Holdings, Inc., f/k/a PINDUODOU Inc.;            2. VIOLATION OF THE COMPUTER
      and DOES 1-100, inclusive,                       FRAUD AND ABUSE ACT;
15                                                     3. VIOLATION OF THE CALIFORNIA
                       Defendants.                     COMPREHENSIVE DATA ACCESS
16
                                                       AND FRAUD ACT ("CDAFA");
17                                                     4. VIOLATION OF THE CALIFORNIA
                                                       INVASION OF PRIVACY ACT;
18                                                     5. VIOLATION OF THE CALIFORNIA
                                                       UNFAIR COMPETITION LAW;
19                                                     6. VIOLATION OF THE CALIFORNIA
20                                                     FALSE ADVERTISING LAW;
                                                       7. VIOLATION OF THE RIGHT OF
21                                                     PRIVACY UNDER THE CALIFORNIA
                                                       CONSTITUTION;
22                                                     8. INTRUSION UPON SECLUSION
23
                                                           DEMAND FOR JURY TRIAL
24

25
           Plaintiffs Victor Smith, (See additional parties list with plaintiffs attached)
26   (collectively "Plaintiffs"), bring this complaint based upon on information and belief, by and
27   through undersigned counsel, against Whaleco Inc. d/b/a Temu ("Temu"), and PDD Holdings
28   Inc. f7k/a Pinduoduo Inc. (collectively, "Defendants").
                                            1
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1                                    JURISDICTION AND VENUE
2           1.       This Court has subject matter jurisdiction over this action pursuant to Article
3    VI, section 10 of the California Constitution and Code of Civil Procedure section 410.10
4           2.       This Court has personal jurisdiction over Defendants. Defendants are a

5    corporation or other business entity authorized to conduct and does conduct business in the
     Stat of California. Defendants advertise and sells products in California, and conducts
6
     sufficient business with sufficient minimum contacts in California, and/or otherwise
7
     intentionally avails itself of the California market through its promotion, sales, distribution,
8
     and marketing within this State to render the exercise of jurisdiction by this Court permissible.
9
            3.       Venue is proper in this county in accordance with Section 395(a) of the
10   California Code of Civil Procedure because the alleged wrongs occurred in the county. Venue
11   is also proper in this county because it was the county where at least one Plaintiff resides.
12
                                          NATURE OF ACTION
13
            4.       In 2022, Defendants launched an online shopping platform, Temu, in the
14
     United States. The Temu mobile app and website (the "Temu platform" or "Temu app"), is
15
     purported to be an online shopping platform that allows users to purchase low-cost goods
16   manufactured in China. However, the Temu app is actually dangerous malware,
17   surreptitiously granting itself access to virtually all data on a user's cell phone.
18          5.       Specifically, Temu is purposefully designed to gain unrestricted access to a

19   user's phone operating system, including, but not limited to, a user's camera, specific
     location, contacts, text messages, documents, biometric information and other applications.
20
     Temu is designed to make this expansive access undetected, even by sophisticated users.
21
            6.       Once installed, Temu can recompile itself and change properties, including
22
     overriding the data privacy settings users believe they have in place. Even users without the
23
     Temu app are subject to Temu's gross overreach if any of their information is on the phone of
24   a Temu user. Temu monetizes this unauthorized collection of data by selling it to third parties.
25          7.       This action arises out of Defendants'             violations of the Electronic
26   Communications Privacy Act of 1986 (ECPA), 18 U.S.C. §§ 2510-2523 and California

27   Consumer Privacy Act of 2018 (CCPA), Cal. Civ. Code § 1798.100.

28
                                             2
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1                                              PARTIES
2           8.       Plaintiff Victor Smith, an individual and citizen of the State of California,
3    County of Los Angeles. Plaintiff downloaded the Temu App and used/shopped on the App
4    and/or platform, thereby subjecting Plaintiff to personal and private data misappropriation by

5    defendant.
            9.       Additional Plaintiffs listed on ATTACHMENT A, are individuals and citizens
6
     of the United States of America. Plaintiffs downloaded the Temu App and used/shopped on
7
     the app and/or platform, thereby subjecting Plaintiffs to personal and private data
8
     misappropriation by defendant.
9
          10.        Whaleco Inc. d/b/a Temu ("Temu") 1s, and at all relevant times was, a
10   corporation incorporated in Delaware and headquarter in Boston, Massachusetts. Temu is an
11   online marketplace operated by the Chinese e-commerce company PDD Holdings Inc.
12        11.        PDD Holdings Inc. f/k/a Pinduoduo Inc., is a company that was founded in

13   China in 2015 under the name Pinduoduo. It owns and operates a portfolio of businesses and
     is listed on the Nasdaq exchange in the United States. Among other things, PDD Holdings
14
     Inc., operates the Pinduoduo e-commerce platform that offers products in various categories,
15
     including agricultural produce, apparel, shoes, bags, mother and childcare products, food and
16
     beverage, electronic appliances, furniture and household goods, cosmetics and other personal
17   care, sports and fitness items and auto accessories. It also owns the company that operates the
18   Temu online marketplace. PDD Holdings Inc. was formerly known as Pinduoduo Inc., with
19   headquarters in Shanghai, China. PDD Holdings Inc. claims that in February 2023, it moved

20   its "principal executive offices" from Shanghai, China to Dublin, Ireland. However, it
     continues to have significant operations in China, with multiple subsidiaries located within
21
     China. PDD Holdings Inc. is registered in the Cayman Islands.
22
          12.        Defendants do not function as separate and independent corporate entities.
23
     Defendant Temu is directly controlled by Defendant PDD Holdings Inc. At all relevant times,
24
     Defendant PDD Holdings Inc. has directed the operations of Defendant Temu with respect to
25   the Temu App, and Defendant Temu has reported to Defendant PDD Holdings Inc.
26   Employees from Defendant PDD Holdings Inc. performed work on the Temu App, including
27   software engineers who previously developed the Pinduoduo App for PDD Holdings Inc.

28
                                              3
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1    Defendant PDD Holdings Inc. makes key strategy decisions for Defendant Temu, which was
2    charged with executing such decisions.

3           13.      Defendants DOES 1 through 100, inclusive, are other possible Defendants
     responsible for the wrongful conduct alleged herein.      The true names and capacities of
4
     Defendants named herein as DOES 1 through 100, inclusive, whether individual, corporate,
5
     associate, or otherwise, are unknown to Plaintiffs, who therefore sue such Defendants by such
6
     fictitious names pursuant to California Code of Civil Procedure § 474. Plaintiffs are informed
7    and believe that the DOE Defendants are California residents. Plaintiffs will amend their
8    Complaint to show true names and capacities when they have been determined. Plaintiffs are
9    informed and believe, and on the basis of such information and belief allege, that each

10   Defendant DOE herein is in some manner responsible for the discrimination, harassment, and
     retaliation against Plaintiffs due to their protected reporting activities, and damages herein
11
     alleged.
12
          14.        Plaintiffs are informed and believe and thereon allege that each Defendant is,
13
     and at all times mentioned was, the agent, employee or representative of each other
14
     Defendant. Each Defendant, in doing the acts, or in omitting to act as alleged in this
15   Complaint, was acting within the scope of his or her actual or apparent authority, or the
16   alleged acts and omissions of each Defendant as an agent were subsequently ratified and
17   adopted by each other Defendant as a principal.

18
                                      FACTUAL ALLEGATIONS
19
          15.        Founded in 2015, PDD Holdings 1s one of China's largest compames,
20
     generating billions in total value of goods sold. Among other business activities, PDD
21   Holdings operates Pinduoduo, (the "Pinduoduo platform" or "Pinduoduo App") an e-
22   commerce App created in China that offers various consumer products.
23        16.        Defendant PDD Holdings Inc. subsequently developed a second online retail
24   App, and in 2022 launched the Temu App in the United States.

25        17.        The Temu App provides a marketplace for Chinese suppliers to offer their
     products. However, the Temu App also handles delivery, promotion, and after-sales services
26
     for merchants on its platform.
27
          18.        The Temu App was based on the Pinduoduo App, and many of the same
28
     software engineers who developed Pinduoduo also worked on what became the Temu App.
                                              4
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1         19.        The Temu App/platform became available to consumers in the United States in
2    late 2022.

3         20.        Since that time, Defendants have heavily promoted the Temu App throughout
     the United States, through television advertisements, large online ad campaigns, and
4
     sponsorships.
5
          21.        As a result of their efforts, by 2023, the Temu App was the most downloaded
6
     App In the United States amassing millions of U.S. users.
7
          22.        Analysts have found that Temu App, specifically, uses the allure of
8    inexpensive Chinese-manufactured goods to entice users into unknowingly providing
9    unwarranted and extensive access to their private data through deceptive methods.
10

11       A. Concerns Arise Regarding Security of The Temu App/Platform

12        23.        In early to mid-2023, the Temu App and/or platform, along with the popular
13   social media app TikTok was identified as one of the Chinese-affiliated App that poses a

14   significant threat to users' data and privacy.

15
          24.        Concerns also began to emerge after Temu's precursor platform, the
     Pinduoduo App, was pulled from the Defendants 'Play Storedue to the presence of malware
16
     that exploited vulnerabilities in Android operating systems. Analysts, including experts for the
17
     Defendants, concluded that the Pinduoduo App was covertly collecting private and personal
18
     data from users without their knowledge and consent.
19        25.        In mid-2023, Apple suspended the Temu App from the Apple Store based on
20   the same data privacy concerns. Apple concluded that Temu made misrepresentations
21   regarding the types of data Temu can access and collect from users. Reports indicated that

22   Apple had expressed concerns regarding the Temu App, stating that it did not comply with
     Apple's data privacy standards and that Temu was misleading users about how their data is
23
     utilized.
24
          26.        Such concerns have also been expressed recently by government authorities
25
     who have examined the App. For example, the State of Montana recently banned the Temu
26   App on government devices, along with other Chinese Apps that have engaged in data privacy
27   violations, such as TikTok.
28
                                              5
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1           27.        In January of 2024, the Arkansas Attorney General sued Temu for deceiving
2    Arkansans and illegally accessing their personal information and data.

3           28.        Likewise, U.S. authorities have also raised concerns regarding Temu's data
     practices.
4
            29.        In April 2023, the U.S.-China Economic and Security Review Commission, a
5
     government entity established by Congress to investigate, assess, and report annually on the
6
     national security implications of the economic relationship between the United States and the
7
     People's Republic of China, issued a report noting the significant data risks associated
8    specifically with the Temu App.
9           30.        Subsequently, technical analysts have determined that the Temu App is
10   deemed even more " malicious" than the suspended Pinduoduo App, noting that Temu's data

11   collection scope is extensive, surpassing what is necessary for the functioning of an online
     shopping app.
12
            31.        According to one commentator, aside from Bluetooth and Wi-Fi access, "Temu
13
     gains full access to all your contacts, calendars, and photo albums, plus all your social media
14
     accounts, chat s, and texts. In other words, literally everything on your phone .... No shopping
15
     app needs this much control, especially one tied to Communist China. "
16

17       B. Temu Violates Users Data Privacy Rights in Multiple Ways.
18
                  1. The Scope of Data Collected
19
            32.        First, analysts have observed that the scope of the data collected by Temu is
20
     sweeping and goes well beyond the scope of the data that is needed to run an online shopping
21   app.
22          33.        In addition to Bluetooth and Wi- Fi access, "Temu gains full access to all your
23   contacts, calendars, and photo albums, plus all your social media accounts, chats, and texts. In
24   other words, literally everything on your phone.."

25          34.        Additionally, it is alleged that the Temu App " bypasses" phone security
     systems to read a user's private messages, make changes to the phone's settings and track
26
     notifications.
27
            35.        In September of 2023, one technical investigation of the app published by an
28
     analyst firm, concluded that the "TEMU app is purposefully and intentionally loaded with
                                               6
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1    tools to execute virulent and dangerous malware and spyware activities on user devices which
2    have downloaded and installed the TEMU app."1

3          36.         The analysis went so far as to claim that Defendant PDD Holdings was a
     "fraudulent company" and that "its shopping app TEMU is cleverly hidden spyware that poses
4
     an urgent security threat to U.S. national interests."
5
           37.         Among the primary findings of the report were the following:
6
                       a. " The app has hidden functions that allow for extensive data exfiltration
7                          unbeknown to users, potentially giving bad actors full access to almost all
8                          data on customers' mobile devices."
9                      b. "Great efforts were taken to intentionally hide the malicious intent and
10                         intrusiveness of the software."

11
                       c. "We engaged numerous independent data security experts to decompile and
                           analyze TEMU app's code, inte grated with experts of our own staff, and
12
                           analysts who have written independently in the public domain."
13
                       d. "Contributing to the danger of mass data exfiltration is the fast uptake rate
14
                           of the TEMU app: over 100 million app downloads in the last 9 months, all
15                         in U.S. and Europe. TEMU is not offered in China."
16                     e. "The TEMU app development team includes 100 engineers who built the
17                         Pinduoduo app, which earned a suspension from the Defendants Play

18                         Store."
                       f. "Pinduoduo app got reinstated by removing the 'bad parts,' some of which
19
                           were identically utilized as components of the TEMU app, strongly
20
                           indicating malicious intent."
21
                       g. "We strongly suspect that TEMU is already, or intends to, illegally sell
22                         stolen data from Western country customers to sustain a business model
23                         that is otherwise doomed for failure."
24         38.         Additionally, the analysis concluded that the Temu App contains malware,

25   spyware, and other means to "plunder" user data: "TEMU has laid an extensive software

26
     1
      See "We believe PDD is a Dying Fraudulent Company and its Shopping App TEMU is Cleverly Hidden
27   Spyware that Poses an Urgent Secur ity Threat to U.S. National Interests" found at: _
                                                                                         https://grizzlyreports.com/we-
                                                                                             _ _ _ _ _ _ __
     believe-pdd-is-a-dying-fraudulent-company-and-its-shopping-app-temu-is-cleverly-hidden-spyware-that-poses-
28   an-urgent-security-threat-to-u-s-national-interests/

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1    foundation to recklessly plunder its customers' data. Our staff analysis, verified by numerous
2    expert confirmations, both proprietary experts we hired, plus those independently published in

3
     the public domain, find malware, spyware, and several levels of exceptionally threatening
     software behavior "
4
          39.        The analysis further found that the Temu App has the capability to hack users'
5
     phones and override data privacy settings that users have purposely set to prevent their data
6
     from being accessed.
7
          40.        Technical analysis of the Temu App found "all the signs of red-flag concern,"
8    noting that "[t]he calls to outside device data and functions that violate users' privacy are far
9    more aggressive than any well-known consumer shopping app."
10        41.        Further analysis found "a stack of software functions that are completely

11   inappropriate to and dangerous in this type of software."

12
          42.        For example, the "TEMU app is referencing systems data outside the bounds of
     TEMU's own app. TEMU seemingly reads the user's system logs. This gives TEMU the
13
     ability to track user actions with other apps running on the user's device."
14
          43.        It is believed that the Temu App also collects identifying information unique to
15
     a user's device. Specifically, "TEMU asks for the MAC address, and other device
16   information, and inserts it into a JSON object to be sent to the server."
17        44.        The Temu App also has the capability to take screenshots of users phones and
18   store those to a file.

19        45.        The Temu also has the ability to read and transmit files on the user' s system

20
     ''with little or no encryption."
          46.        The Temu can access users' cameras and microphones whe never the app is
21
     running, such a function provides a means by which the Temu App can surreptitiously collect
22
     user biometric data and information such as video, facial image, and voiceprint data.
23
          47.        Many of the categories of data and information collected by Defendants are
24   particularly sensitive. For example, in addition to highly sensitive biometric information
25   discussed below, Defendants also collect physical and digital location tracking data that is
26   highly invasive of Temu users' privacy rights. "Location data is among the most sensitive
27   personal information that a user can share with a company . . . Today, modern smartphones
     can reveal location data beyond a mere street address. The technology is sophisticated enough
28
                                             8
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1    to identify on which floor of a building the device is located." Over time, location data reveals
2    private living patterns of Temu users, including where they work, where they reside, where

3
     they go to school, and when they are at each of these locations. Location data, either standing
     alone, or combined with other information, exposes deeply private and personal information
4
     about Temu users' health, religion, politics and intimate relationships.
5
          48.       The Temu data collection begins as soon as the app is downloaded. As reported
6
     in a recent technical report: "'TEMU sends a lot of detailed user and system data elements as
7    soon as the app is loaded.' The user's system gets queried in detail, so all that information is
8    available to send to TEMU servers. (As noted above, this includes the device's unique MAC
9    address.) No user permission is required to gather any of this category of information." Temu

10   contains "a complete arsenal of tools to exfiltrate virtually all the private data on a user's
     device and perform nearly any malign action upon command trigger from a remote server. "
11
          49.       Additionally, individuals who are not Temu users and have never signed up for
12
     the platform may also be adversely impacted. Unbeknownst to them, non-users who engage in
13
     electronic communications with Temu users, such as through email or text messages, may
14
     have their private communications subject to harvesting by Defendants who have broad
15   access to Temu users' devices.
16

17        2. The Surreptitious Nature of The Apps Data Mining.

18        50.       The Temu App contains technology (encrypt, decrypt or shift integer signals)
19   that obscures the source code and system calls so that intrusive and dangerous calls are harder
20   to detect when an app store or others perform security scans. In addition, the Temu App

21
     contains a runtime.exec() function that allows Temu to get compiled code onto the user's
     system at runtime that has not been seen by any security detection scans. These features alone
22
     demonstrate that the Temu App 1s purposefully designed to be "very virulent
23
     malware/spyware."
24
          51.       Issues uncovered with the app "occur in parts of the code that are proprietary,
25   obscured, and/or from a code library rarely used, poorly programmed by a niche company."
26   This is inconsistent with common practice and appears to be designed to obscure the
27   dangerous features of the app so that they will not be disclosed to the public and will avoid

28   scrutiny by the app stores that provide the app to the public.

                                            9
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1         52.       For example, a technical analysis found a ''package compile" function that was
2    "not visible to security scans before o r during installation of the app, or even with elaborate

3    penetration testing." As a result, "TEMU's app could have passed all the tests for approval
     into the Defendants' Play Store, despite having an open door built in for an unbounded use of
4
     exploitative methods."
5
          53.       In addition, the Temu App seeks to obscure the permissions that are given to
6
     the app to access information on users' phones. "[M]any of these permissions in TEMU's
7    source code are not listed in their Android Manifest file, which is the standardized overview
8    source foran app."
9         54.       The Temu App deceptively requests permissions in ways that do not clearly
10   inform users that they are providing certain permissions to the App. Accordingly, because the

11   Temu App "masks its intentions" by using such deceptive means, "You wouldn't suspect that
     the TEMU app contains a full stack of malware/spyware tools to do just about anything it
12
     wants with your phone and get nearly anything stored on it sent to its own servers in the
13
     background."
14
          55.       The Temu App also contains functions to alert the App if a debugger is
15   engaged. Such a feature is likely incorporated into the App ''to obstruct or obscure analysis of
16   the app, and most likely to change app behavior if an analyst is inspecting it dynamically."
17

18        3. Temu Subjects User Data To Misappropriation By Chinese Authorities.

19        56.       The data privacy violations documented with the Temu App are particularly
20   concerning not only because they subject user data to unauthorized collection and potential

21   sale to third parties, but also because T emu's parent is a China-based company that is subject
     to Chinese law that requires companies to provide user data to the government upon request.
22
     As a technical analysis of the Temu App has noted, "Your personal data - much more than
23
     you ever assumed     is resold indiscriminately for marketing purposes, and in all probability
24
     available to Chinese Security authorities for data mining purposes. Chinese Government
25   security agents or their AI computers might be looking at what products you or your family
26   buy on TEMU as a source of leverage, influence, manipulation, 'cross-border remote justice',
27   surveillance, or more."
28
                                            10
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1         57.        As experts and government authorities have repeatedly observed, under
2    applicable law, user data owned by Chinese companies is available on command to officials

3    of the Chinese communist government. The Chinese government's ongoing efforts to acquire
     such private user data from American citizens           both legally and illegally     are well
4
     documented.
5
          58.       As U.S. Senators have explained, "Security experts have vo iced concerns that
6
     China's vague patchwork of intelligence, national security, and cybersecurity laws compel
7    Chinese companies to support and cooperate with intelligence work controlled by the Chinese
8    Communist Party."
9         59.       Inherent in Chinese ownership of companies collecting Ameri can users'
10   private and personally identifiable information. During the broadcast, among other things, a

11   former member of the U.S. intelligence community observed that what makes the possession
     of U.S. user data by China-affiliated compames "particularly concerning" 1s that "[t]he
12
     Chinese have fused their government and their industry together so that they cooperate to
13
     achieve the ends of the state." As Senator Hawley observed during the broadcast, for example,
14
     the Chinese-owned parent company of TikTok had an express legal obligation to share such
15   private user data with the Chinese government: "under Chinese law, TikTok, ByteDance, the
16   parent, is required to share data with the Chinese Communist Party"; "all it takes is one knock
17   on the door of their parent company, based in China, from a Communist Party official for that

18   data to be transferred to the Chinese government's hands, whenever they need it."

19
          60.        In testimony given to Congress in November 2022, FBI Director Christopher
     Wray reiterated these concerns, noting that Chinese law requires Chinese companies to "do
20
     whatever the government wants them to in terms of sharing information or serving as a tool of
21
     the Chinese government. And so that's plenty ofreason by itself to be extremely concerned."
22
          61.       China-based companies are required by law to secretly provide consumer data
23   to the government upon demand.
24        62.       The message contained in each of China's state security laws passed since the
25   beginning of 2014 is clear: everyone is responsible for the party- state's security. According to

26   the CCP's definition of state security, ''the Party's political leadership is central..." And the
     party expects Chinese people and citizens to assist in collecting intelligence. The Intelligence
27
     Law states "any organization and citizen shall, in accordance with the law, support, provide
28
                                            11
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1    assistance, and cooperate in national intelligence work, and guard the secrecy of any national
2    intelligence work that they are aware of... " Not only is everyone required to participate in

3
     intelligence work when asked, but that participation must be kept secret.

4
     C. Temu Uses Unfair Business Practices to Get Users to Engage with the App.
5

6
          63.       Defendants actively utilize manipulative and deceptive practices in order to
     maximize the number of users who sign up to use the app, thereby maximizing the amount of
7
     data that Defendants can misappropriate. According to one commentator, "TEMU 1s a
8
     notoriously bad actor in its industry. We see rampant user manipulation, chain-letter-like
9
     affinity scams to drive signups, and overall, the most aggressive and questionable techniques
10   to manipulate large numbers of people to install the app."
11        64.       Defendants seek to induce users to sign up for the Temu App with the promise
12   of low-cost, high-quality goods manufactured in China. Defendants underscore this aspect of

13   the platform through a variety of mechanisms such as pop-ups with wheels to spin for
     discounts, tokens to collect, and countdown clocks.
14
          65.       These tactics have been wildly successful: "PDD's TEMU online marketplace
15
     is being reported as amo ng the fastest uptaken apps in history."
16
          66.       These practices have allowed Defendants to maximize their access to user data
17
     through the false promise of low-cost, high-quality goods. Moreover, they further demonstrate
18   that Defendants' real business is not providing a platform for the sale of quality merchandise,
19   but rather obtaining access to user data under false pretenses, which they then misappropriate
20   and seek to monetize.

21        67.       Defendants utilize additional deceptive marketing techniques to induce users to
     sign up for the platform and grant Defendants access to user data. For example, Defendants
22
     run what has been described as an "affinity scam" or "chain letter" like tactic where users are
23
     repeatedly urged to sign up their friends and acquaintances in order to expand the number of
24
     users whose data Defendants may then access through the App.
25
          68.       Among other things, Temu offers credit and free items to users who get their
26   friends and acquaintances to sign up for the app. "Those who do register are subjected to a
27   bombardment of emails and app notifications. "
28
                                            12
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1            69.      " Once you give TEMU your personal information, you will be repeatedly
2    spammed, hounded, nagged, and bribed to get your friends and family to give TEMU their

3    personal information. When users fall down this rabbit hole (getting that Nintendo Switch
     absolutely free), TEMU sends a torrent of popup sequences milking users for 'just one more
4
     contact'."
5
             70.      In addition, Temu users are bombarded by notifications and spam from third
6
     parties other than Defendants. These emails and notifications occur even after users delete the
7    app from their devices and even when users seek to block such notifications.
8            71.      Moreover, Temu has utilized online "influencers" to harvest new users on an
9    even larger scale. "There are now literally thousands of so-called 'influencers' hawking
10   TEMU referrals on Reddit, YouTube, TikTok, and also Minecraft, Roblox, Discord ... the

11   pitch is: 'You don't have to buy anything, just sign up!"' "If you have a social media
     presence, TEMU will figure that out and will start to spam you     every day    to induce you to
12
     create videos promoting TEMU, for which they promise to pay."
13
             72.      Defendants attract and maintain users through other fraudulent means. For
14
     example, "TEMU ... compensates users to write reviews," which are then "obvious!y skewed
15   positive." Moreover, reviews are categorized in a deceptive manner with reviews
16   characterized as "five stars"positive reviews when in reality they contain extremely negative
17   comments about the platform.
18           73.      Finally, as illustrated by its gamified nature, Temu is designed to be highly

19   addictive. As one report notes, "[t]he app successfully keeps people hooked. The average user
     spends around 28 minutes a day on the app, according to Sensor Tower, nearly double the 16
20
     minutes spent on Amazon." The more t ime users spend on the app, the more data is available
21
     for covert collection by Defendants in violation of users' right to privacy in their personal
22
     data.
23           74.      As one analysis observes, the addictive tactics extend not only to users
24   continued use of the platform, but also inducing individuals to sign up for the app: "Your
25   behavior will be categorized and siloed. If these kinds of inducements exert an addictive pull

26   on your brain, AI pattern recognition will guarantee you will see a lot more of them. "

27

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1    C. Plaintiffs' Have Been Harmed by Temu's Violations.
2         75.          The United States Supreme Court has recognized that, in contemporary
3    society, cell phones are so ubiquitous and inextricably intertwined with the user's personal
4    privacy that the devices have become "almost a 'feature of human anatomy."' Carpenter v.
5    United States, 138 S. Ct. 2206, 2218 (2018) (quoting Riley v. California, 573 U.S. 373, 385
     (2014)).
6
          76.          As a result of their multiple violations of users' data privacy, Defendants
7
     possess identifying information, biometric identifiers and information, and other data
8
     sufficient to create a file of private and personally identifiable data and content for Plaintiffs.
9
     Such files can be supplemented over time with additional private and personally identifiable
10   user data and content, and all of this private and personally identifiable data and information
11   has been, is, and will be used in the past, the present, and the future for economic and
12   financial gain.

13        77.          Meanwhile, Plaintiffs have incurred, and continue to incur, harm as a result of
     the invasion of privacy stemming from Defendants' possession of their private and personally
14
     identifiable data and content        including their user identifiers, biometric identifiers and
15
     information, and other data.
16
          78.          Plaintiffs have suffered and continue to suffer harm in the form of diminution
17
     of the value of their private and personally identifiable data and content as a result of
18   Defendants' surreptitious and unlawful activities.
19        79.          Plaintiffs have a reasonable expectation of privacy in the private and personally
20   identifiable data and content on their mobile devices.

21        80.          Through the unauthorized collection of their data, Plaintiffs' may have suffered

22
     additional injuries. The data collected from Temu users by these unauthorized means can be
     misused by Defendants themselves in ways that are not authorized, including the information
23
     being sold or given to unauthorized third parties without the consent of Plaintiffs.
24
          81.          Temu users may be subjected to additional injuries, including the provision or
25
     sale of their data to unauthorized third parties or the use of their data in ways that users did not
26   authorize by Defendants themselves.
27

28
                                            14
                [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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1                                     FIRST CAUSE OF ACTION
2      VIOLATION OF THE ELECTRONIC COMMUNICATIONS PRIVACY ACT OF

3                                             1986 (ECPA),
                                       18 U.S.C. §§ 2510 ET SEQ.
4
                                 (All Plaintiffs Against All Defendants)
5
          82.       Plaintiffs reallege and incorporate by reference, as through fully set forth
6
     herein, each and every allegation set forth above.
7
          83.       The Electronic Communications Privacy Act of 1986, 18 U.S.C. §§ 2510, et
8    seq., prohibits the interception of any wire, oral, or electronic communications without the
9    consent of at least one authority party to the communication. The statute confers a civil cause
10   of action on "any person whose wrre, oral, or electronic communication 1s intercepted,

11
     disclosed, or intentionally used in violation of this chapter." (see; 18 U.S.C. § 2510(4)).
          84.       "Intercept" is defined as ''the aural or other acquisition of the contents of any
12
     wire, electronic, or oral communication through the use of any electronic, mechanical, or
13
     other device." (see; 18 U.S.C. § 2510(4)).
14
          85.       "Contents" 1s defined as "includ[ing] any information concemmg the
15   substance, purport, or meaning of that communication." (see; 18 U.S.C. § 2510(4)).
16        86.       "Person" is defmed as "any employee, or agent of the Unite d States or any
17   State or political subdivision thereof, and any individual, partnership, association, joint stock
18   company, trust, or corporation." (see; 18 U.S.C. § 2510(4)).

19        87.       "Electronic communication" 1s defined as "any transfer of signs, signals,
     writing, images, sounds, data, or intelligence of any nature transmitted in whole or in part by a
20
     wire, radio, electromagnetic, photoelectronic or photo optical system that affects interstate or
21
     foreign commerce" (see; 18 U.S.C. § 2510(4)).
22
          88.       For the purposes of the ECPA, Defendants, as a corporation are each defined as
23
     a "person "
24        89.       The Temu App/platform was designed with malware written into its code that
25   secretly accesses texts, emails and other content on users' computers , phones and/or mobile
26   devices, each constituting a "device or apparatus."

27        90.       Defendants used the Temu app/platform to intercept wire, oral, or electronic
     communication through electronic means on users' devices.
28
                                            15
                [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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1         91.        For the purposes of 18 U.S.C. § 2510(12), Plaintiffs' texts, emails, electronic
2    interactions with others on social media and websites, sensitive personal information, and

3    data, and interactions with other individuals and websites are " electronic communication(s) "

4
          92.        Through the Temu App/platform Defendants surreptitiously intercepted
     plaintiffs ' "electronic communication[s]".
5
          93.        Plaintiffs have an expectation of privacy in such communications, and
6
     exercised a reasonable expectation of privacy concerning the transmission of those messages,
7
     and reasonably believed that their electronic communications were not being intercepted,
8    recorded, copied, disseminated, and/or misappropriated.
9         94.        Plaintiffs' electronic communications were intercepted during transmission,
10   without their consent and for the unlawful and/or wrongful purpose of monetizing private

11   information and data, including by using their private information and data to develop
     marketing and advertising strategies and utilizing user data for other commercial advantage.
12
          95.        Defendants were not parties to Plaintiff's communications.
13
          96.        Defendants are sophisticated parties, who at all relevant times knowingly,
14
     willfully and intentionally intercepted Plaintiffs electronic communications through the Temu
15
     App/platform.
16        97.        Plaintiffs did not consent to Defendants' interception, disclosure, use and/or
17   misuses and misappropriation of their electronic communications.
18        98.        Defendants violated 18 U.S.C. § 2511(1)(a) by intentionally intercepting,
19   and/or attempting to intercept, messages transmitted by Plaintiffs who have used the Temu

20   app/platform.
          99.        Defendants violated 18 U.S.C. § 2511(1)(a), by using Plaintiffs' intercepted
21
     communications and data intentionally for corporate gain and profit.
22
          100.       Defendants were unjustly enriched by their unauthorized interception of
23
     Plaintiffs' electronic communications.
24
          101.       Defendants violated 18 U.S.C. § 2511(1)(a), by making Plaintiffs'
25   communications accessible by third parties, including the Chinese Communist Party and
26   foreign governmental entities whose interests are opposed to those of United States citizens.
27

28
                                             16
                 [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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1         102.      Plaintiffs suffered and will continue to suffer damages including but not
2    limited to loss of their information and loss of money and costs incurred, all of which have

3    ascertainable value to be proven at trial.

4
          103.      Pursuant to 18 U.S.C. § 2520, Plaintiffs have been damaged by the
     interception, disclosure, and/or use of their communications in violation of the ECPA and are
5
     each entitled to: (1) appropriate equitable or declaratory relief; (2) damages, in an amount to
6
     be determined at trial, assessed as the greater of (a) the sum of the actual damages suffered by
7    Plaintiffs and any profits made by Defendants as a result of the violation, or (b) statutory
8    damages of whichever is the greater of $100 per day per violation or $10,000; and (3)
9    reasonable attorneys' fees and other lit igation costs reasonably incurred.
10

11
                                    SECOND CAUSE OF ACTION
                 VIOLATION OF THE COMPUTER FRAUD AND ABUSE ACT,
12
                                             18 U.S.C. §§ 1030
13
                                 (All Plaintiffs Against All Defendants)
14
          104.      Plaintiffs reallege and incorporate by reference, as through fully set forth
15   herein, each and every allegation set forth above.
16        105.      The Computer Fraud and Abuse Act, 18 U.S.C. § 1030, referred to as "CFAA,"
17   regulates fraud and related activity in connection with computers, and makes it unlawful to
18   intentionally access a computer used for interstate commerce or communication, without
     authorization or by exceeding authorized access to such a computer, thereby obtaining
19
     information from such a protected computer, within the meaning of U.S.C. § 1030(a)(2)(C).
20
          106.       18 U.S.C. § 1030(a)(5)(A)(i) makes it unlawful to "knowingly cause the
21
     transmission of a program, information, code, or command and as a result of such conduct,
22
     intentionally cause damage without authorization, to a protected computer," of a loss to one or
23   more persons during any one-year period aggregating at least $5,000 in value.
24        107.       18 U.S.C. § 1030(g) provides a civil cause of action to "any person who suffers
25   damage or loss by reason of a violation of CFAA. "

26        108.      Defendants violated 18 U.S.C. § 1030 by intentionally accessing Plaintiffs

27   computers without authorization or by exceeding authorization, and by obtaining information
     from a protected computer.
28
                                             17
                 [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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1         109.      Plaintiffs' computer, smartphone, and/or mobile devices, such as a tablet or
2    iPad 1s a "protected computer . . . which 1s used m interstate commerce and/or

3    communication" wit hin the meaning of 18 U.S.C. § 1030(e)(2)(B).

4
          110.      Defendants violated 18 U.S.C. § 1030(a)(5)(A)(i) by knowingly causing the
     transmission of data and programs on Plaintiffs' protected computers.
5
          111.      Defendants violated 18 U.S.C. § 1030(a)(5)(A)(i) by storing sniffing code to
6
     access, collect, and transmits details of Plaintiffs 'web activities and communications.
7
          112.      Defendants violated 18 U.S.C. § 1030(a)(5)(A)(ii) by intentionally accessing
8    Plaintiffs' protected computers without authorization, and as a result of such conduct,
9    recklessly caused damage to Plaintiffs' computers by weakening the integrity of data and/or
10   system and/or information stored on Plaintiffs protected computers.

11        113.      Defendants violated 18 U.S.C. § 1030(a)(5)(A)(ii) by surreptitiously installing

12
     dangerous malware and spyware onto Plaintiffs protected computers causes the Plaintiffs to
     suffer damage through the "impairment to the integrity or availability of data, a program, a
13
     system or information."
14
          114.      Defendants '   unlawful access to Plaintiffs '       computers and electronic
15
     communications has caused Plaintiffs irreparable injury.
16        115.      Plaintiffs have suffered loss, as defined in 18 U.S.C. § 1030(e)(11). In
17   expending ''reasonable cost" associated with Plaintiffs responding to the violating offense,
18   conducting a damage assessment, and restoring the data, program, system, or information to
19   its condition prior to the offense, and any revenue lost, cost incurred, or other consequential
     damages incurred because of interruption of service or the data breach.
20
          116.      Plaintiffs have suffered damages by reason of Defendants               violations,
21
     including, without limitation, violation of the right of privacy, and disclosure of personal
22
     information that is otherwise private, confidential, and not of public record.
23
          117.      As a result of Defendants 'conduct, Plaintiffs have suffered loss and damages
24   during any one-year period aggregating at least $5,000 in real economic damages.
25

26

27

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                                             18
                 [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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1                                      THIRD CAUSE OF ACTION
2       VIOLATION OF THE CALIFORNIA COMPREHENSIVE DATA ACCESS AND

3                                              FRAUD ACT,
                                          CAL. PEN CODE. § 502
4
                             (All California Plaintiffs Against All Defendants)
5
             118.      Plaintiffs reallege and incorporate by reference, as through fully set forth
6
     herein, each and every allegation set forth above.
7
             119.      Cal. Penal Code§ 502 provides: "For purposes of bringing a civil or a criminal
8    action under this section, a person who causes, by any means, the access of a computer,
9    computer system, or computer network in one jurisdiction from another jurisdiction is deemed
10   to have personally accessed the computer, computer system, or computer network in each

11
     jurisdiction." Smart phone devices with the capability of using web browsers are "computers"
     within the meaning of the statute.
12
             120.      Defendants violated Cal. Penal Code § 502(c)(2) by knowingly accessing and
13
     without permission taking, copying, analyzing, and using Plaintiffs' "computer" browsing
14
     data.
15           121.      Defendants were unjustly enriched when it surreptitiously acquired Plaintiffs'
16   sensitive and valuable personal information without permission and used it for Defendants
17   financial benefit.
18           122.      Plaintiffs retain a stake in the profits Defendants earned from their personal

19   data, as under the circumstances, it is unjust for the Defendants to retain those profits.
             123.      Defendants accessed, copied, took, analyzed, and used data from Plaintiffs'
20
     computers in and from the State of California, where the Defendants used servers that
21
     provided communication links between Plaintiffs' devices and the Defendants , which
22
     allowed the Defendants to access and obtain Plaintiffs' data. Accordingly, the Defendants
23   caused the access of Plaintiffs' computers from California, and is therefore deemed to have
24   accessed Plaintiffs' computers in California.
25           124.      As a direct and proximate result of the Defendants unlawful conduct within
26   the meaning of Cal. Penal Code § 502, the Defendants have caused actual losses to Plaintiffs

27   and has been unjustly enriched in an amount to be proven at trial.

28
                                                19
                    [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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1         125.       Plaintiffs seek compensatory damages and/or disgorgement of profits in an
2    amount to be proven at trial.

3         126.       Plaintiffs are entitled to exemplary damages pursuant to Cal. Penal Code §
     502(e)(4) because the Defendants violations were willful and, upon information and belief,
4
     the Defendants are guilty of oppression, fraud, or malice as defined in Cal. Civil Code § 3294.
5
          127.       Plaintiffs are also entitled to recover their rea sonable attorneys' fees pursuant
6
     to Cal. Penal Code § 502(e).
7

8                                    FOURTH CAUSE OF ACTION
9             VIOLATION OF THE CALIFORNIA INVASION OF PRIVACY ACT,
10                               CAL. PENAL CODE §§ 630, ET SEQ.

11                         (All California Plaintiffs Against All Defendants)

12
          128.       Plaintiffs reallege and incorporate by reference, as through fully set forth
     herein, each and every allegation set forth above.
13
          129.       The California Invasion of Privacy Act ("CIP A") is codified at Cal. Penal Code
14
     §§630 to 638.
15
          130.       The California Legislature enacted the California Invasion of Privacy Act, Cal.
16   Penal Code §§ 630, et seq. ("CIPA") finding that "advances in science and technology have
17   led to the development of new devices and techniques for the purpose of eavesdropping upon
18   private communications and that the invasion of privacy resulting from the continual and

19   increasing use of such devices and techniques has created a serious threat to the free exercise
     of personal liberties and cannot be tolerated in a free and civilized society." Id. § 630. Thus,
20
     the intent behind CIPA is ''to protect the right of privacy of the people of this state." Id.
21
          131.       Cal. Pen. Code§ 631(a) imposes liability upon: "Any person who, by means of
22
     any machine, instrument, or contrivance, or in any other manner . . . willfully and without the
23
     consent of all parties to the communication, or in any unauthorized manner, reads, or attempts
24   to read, or to learn the contents or meaning of any message, report, or communication while
25   the same is in transit or passing over any wire, line, or cable, or is being sent from, or received
26   at any place within this state; or who uses, or attempts to use, in any manner, or for any

27   purpose, or to communicate in any way, any information so obtained, or who aids, agrees

28
                                             20
                 [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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1    with, employs, or conspires with any person or persons to lawfully do, or permit, or cause to
2    be done any of the acts or things mentioned above in this section ..."

3         132.      Cal. Pen. Code § 632(a) imposes liability upon: "A person who, intentionally
     and without the consent of all parties to a confidential communication, uses an electronic
4
     amplifying or recording device to eavesdrop upon or record the confidential communication,
5
     whether the communication is carried on among the parties in the presence of one another or
6
     by means of a telegraph, telephone, or other device, except a radio."
7
          133.      Plaintiffs have an expectation of privacy in their private and personally
8    identifiable data and information, and they exercised a reasonable expectation of privacy
9    concerning the transmission of such information.
10        134.      Under either section of the CIPA quoted above, a defendant must show it had

11   the consent of all parties to a communication. However, without the consent of either the
     sender or recipient, Defendants intercepted and recorded messages and electronic
12
     communications transmitted using the Temu App/platform without Plaintiffs' consent or
13
     knowledge.
14
          135.      Defendants knowingly and intentionally used and continue to use the Temu
15   App/platform and associated servers and other computer devices, to read, attempt to read,
16   learn, attempt to learn, eavesdrop, record, and/or use electronic communications containing
17   private data from Plaintiffs, these electronic communications were and are in transit,
18   originating in or sent to California, and without the authorization or consent of Plaintiffs.

19        136.      Acts by Defendants in violation of the CIPA occurred in the State of California
     because those acts resulted from business decisions, practices, and operating policies that
20
     Defendants developed, implemented, and utilized in the State of California and which are
21
     unlawful and constitute criminal conduct in the state of California.
22
          137.      Defendants profited and continue to profit in the State of California as a result
23   of these repeated and systemic violations of CIPA. Defendants' unlawful conduct, which
24   occurred in the State of California, harmed and continues to harm Plaintiffs.
25        138.      The communications intercepted by Defendants include "contents" of
26   electronic communications exchanged between Plaintiffs, on the one hand, and third parties

27   through shared communications.

28
                                             21
                 [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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1         139.      Defendants recorded and stored such private message content, separate from
2    the process of transmitting the message to the intended recipient.

3         140.      Defendants purposefully designed the Temu app/platform in a way that they
     knew Plaintiffs' privacy rights would be violated, in that their messages would be unlawfully
4
     intercepted and recorded.
5
          141.      Under Cal. Penal Code § 631(a) The following constitute "machine[s],
6
     instrument[s], or contrivance[s] : (a) Plaintiffs personal computing devices; (b) the computer
7
     codes and programs Defendants used to effectuate the interception of communications; (c)
8    Defendants' servers; (d) and the plan Defendants carried out to effectuate the interception of
9    the communications that were exchanged with Plaintiffs'.
10        142.      In the alternative, Defendants' purposeful scheme that facilitated its

11   interceptions falls under the broad statutory catch-all category of "any other manner".

12
          143.      The    private    data    Defendants     collected    constitutes   "confidential
     communications," as that term is used in Cal. Pen. Code § 632(a), because Plaintiffs have an
13
     objectively reasonable expectation of privacy in their communications.
14
          144.      Plaintiffs did not consent to Defendants' interception, disclosure, and/or use of
15
     their electronic communications.
16        145.      The unauthorized interceptions described herein are not covered by any
17   business exception because the interceptions were not required to facilitate the
18   communications.
19        146.      Plaintiffs have suffered actual losses by reason of these violations, including,

20   but not limited to, violation of their rights to privacy and loss of value in their personally
     identifiable information.
21
          147.      Plaintiffs have a property right in their private communications, videos and
22
     messages such that interception of those messages violated those rights and therefore caused
23
     them injuries and damages.
24
          148.      Plaintiffs suffered further economic injury as a result of Defendants' unlawful
25   and unauthorized interceptions and recordings of communications. The battery, memory, CPU
26   and bandwidth of their cellular devices have been compromised and they incurred additional
27   data and electricity costs that they otherwise would not have.

28
                                             22
                 [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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1          149.      Pursuant to Cal. Pen. Code § 637.2, Plaintiffs have been injured by the
2    violations of Cal. Pen. Code §§ 631, 632, and each seeks damages for the greater of $5,000 or

3    three times the amount of actual damages, as well as injunctive or other equitable relief.

4
           150.      Plaintiffs have also suffered irreparable injury from these unauthorized acts of
     disclosure; their personal, private, and sensitive data have been collected, viewed, accessed,
5
     stored, and used by Defendants, and have not been destroyed. Due to the continuing threat of
6
     such injury, Plaintiffs have no adequate remedy at law. Plaintiffs are entitled to injunctive
7    relief.
8                                    FIFTH CAUSE OF ACTION
9              VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW,
10                         CAL. BUS. & PROF. CODE. §§ 17200 ET SEQ.

11
                           (All California Plaintiffs Against All Defendants)
           151.      Plaintiffs reallege and incorporate by reference, as through fully set forth
12
     herein, each and every allegation set forth above.
13
           152.      California Unfair Competition Law (UCL) prohibits any ''unlawful, unfair, or
14
     fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising."
15   Cal. Bus. & Prof. Code § 17200.
16         153.      The Defendants ' ''unlawful" acts and practices include its violation of the
17   Federal Wiretap Act, 18 U.S.C. § 2510, et seq.; the California Invasion of Privacy Act, Cal.
18   Penal Code §§ 631 and 632; the California Computer Data Access and Fraud Act, Cal. Penal

19   Code § 502, et seq.; and Invasion of Privacy.
           154.      The Defendants conduct violated the spirit and letter of these laws, which
20
     protect property, economic and privacy interests and prohibit unauthorized disclosure and
21
     collection of private communications and personal information.
22
           155.      The Defendants'' ''unfair" acts and practices include its violation of property,
23
     economic and privacy interests protected by the statutes identified above.
24         156.      Plaintiffs have suffered injuries-in-fact, including the loss of money and/or
25   property as a result of the Defendants ' unfair and/or unlawful practices. Plaintiffs have
26   suffered unauthorized disclosure and taking of their personal information which has value, as

27   demonstrated by its use and sale by the Defendants

28
                                              23
                  [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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1         157.      Plaintiffs have suffered harm in the form of diminution of the value of their
2    private and personally identifiable data and content.

3         158.      The Defendants ' actions caused damage to, and loss of, Plaintiffs' property
     right to control the dissemination and use of their personal information and communications.
4
          159.      The Defendants reaped unjust profits and revenues in violation of the UCL.
5
     This includes the Defendants profits and revenues from their targeted-advertising. Plaintiffs
6
     seek restitution and disgorgement of these unjust profits and revenues.
7

8                                     SIXTH CAUSE OF ACTION
9              VIOLATION OF THE CALIFORNIA FALSE ADVERTISING LAW,
10                          CAL BUS. & PROF. CODE. §§ 17500 ET SEQ.

11                         (All California Plaintiffs Against All Defendants)

12
          160.      Plaintiffs reallege and incorporate by reference, as through fully set forth
     herein, each and every allegation set forth above.
13
          161.      California's False Advertising Law (the "F AL") - Cal. Bus. & Prof. Code §§
14
     17500, et seq. - prohibits "any statement" that is ''untrue or misleading" and made ''with the
15
     intent directly or indirectly to dispose of' property or services.
16        162.      Defendants'     advertising    and    other   stateme nts   regarding   the   Temu
17   App/platform are, and at all relevant times were, highly misleading.
18        163.      Defendants do not disclose at all, or do not meaningfully disclose, the private
19   and personally identifiable data and content         including user/device identifiers, biometric
     identifiers and information, electronic communications, and private data and information
20
     that they have collected and transferred from the Plaintiffs' devices and computers. Nor do
21
     Defendants disclose that the Plaintiffs' private and personally identifiable data and content
22
     have been made available to the Chinese Communist Party and foreign government entities.
23
          164.      Reasonable consumers, like the Plaintiffs , are       and at all relevant times were
24   - likely to be misled by Defendants' misrepresentations.
25        165.      Reasonable consumers lack the means to verify Defendants' representations
26   concerning their data and content collection and use practices, or to understand the fact or

27   significance of Defendants' data and content collection and use practices.

28
                                             24
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1         166.      Plaintiffs have been harmed and have suffered economic injury as a result of
2    Defendants' misrepresentations. First, they have suffered harm in the form of diminution of

3    the value of their private and personally identifiable data and content.

4
          167.      Plaintiffs have a property interest in the personally identifiable information and
     other personal information taken by Defendants. There is a market for such data and Plaintiffs
5
     have been deprived of the money or property they would have received for the data
6
     improperly collected by Defendants.
7
          168.      Second, they have suffered harm to their devices. The battery, memory, CPU
8    and bandwidth of such devices have been compromised, and as a result the functioning of
9    such devices has been impaired and slowed.
10        169.      Third, they have incurred additional data usage and electricity costs that they

11   would not otherwise have incurred.

12
          170.      Fourth, they have suffered harm as a result of the invasion of privacy stemming
     from Defendants' accessmg their private and personally identifiable data and content
13
     including user/device identifiers, biometric identifiers and information, and other private data
14
     and information.
15
          171.      Defendants, as a result of their misrepresentations, have been able to reap
16   unjust profits and revenues. This includes Defendants' profits and revenues from their
17   targeted advertising, revenue from the sale of goods on the Temu App/platform, and increased
18   consumer demand for and use of Defendants' other products and services. Plaintiffs seek

19   restitution and disgorgement of these unjust profits and revenues.

20
          172.      Unless restrained and enjoined, Defendants will continue to misrepresent their
     private and personally identifiable data and content collection and use practices and will not
21
     recall and destroy Plaintiffs wrongfully collected private and personally identifiable data and
22
     content. Accordingly, injunctive relief is appropriate.
23

24                                 SEVENTH CAUSE OF ACTION
25         VIOLATION OF THE RIGHT OF PRIVACY UNDER THE CALIFORNIA
26                                          CONSTITUTION

27                         (All California Plaintiffs Against All Defendants)

28
                                             25
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1         173.      Plaintiffs reallege and incorporate by reference, as through fully set forth
2    herein, each and every allegation set forth above.

3         174.      The California Constitution and Common Law protect consumers from
     invasions of their privacy and intrusion upon seclusion.
4
          175.      The right to privacy in California's constitution creates a right of action against
5
     private entities such as the Defendants.
6
          176.      Plaintiffs' expectation of pnvacy 1s deeply enshrined in California's
7
     Constitution. Article I, section 1 of the California Constitution provides: "All people are by
8    nature free and independent and have inalienable rights. Among these are enjoying and
9    defending life and liberty, acquiring, possessing, and protecting property and pursuing and
10   obtaining safety, happiness, and privacy."
11        177.      The phrase "and privacy" was added by the "Privacy Initiative" adopted by

12
     California voters in 1972. After voters approved a proposed legislative constitutional
     amendment designated as Proposition 11. Critically, the argument in favor of Proposition 11
13
     reveals that the legislative intent was to curb businesses' control over the unauthorized
14
     collection and use of consumers' personal information, stating:
15
                 The right of privacy is the right to be left alone .. .It prevents
16               government and business interests from collecting and stockpiling
                 unnecessary information about us and from misusing information
17               gathered for one purpose in order to serve other purposes or to
                 embarrass us. Fundamental to our privacy is the ability to control
18               circulation of personal information. This is essential to social
                 relationships and personal freedom. BALLOT PAMP., PROPOSED
19               STATS. & AMENDS. TO CAL. CONST. WITH ARGUMENTS TO
                 VOTERS, GEN. ELECTION *26 (Nov. 7, 1972).
20
          178.      The principal purpose of this constitutional right was to protect against
21
     unnecessary information gathering, use, and dissemination by public and private entities,
22   including the Defendants.
23        179.      To plead a California constitutional privacy claim, " a plaintiff must show an
24   invasion of (1) a legally protected privacy interest; (2) where the plaintiff had a reasonable

25   expectation of privacy in the circumstances; and (3) conduct by the defendant constituting a
     serious invasion of privacy."
26
          180.      The Defendants collected the data with the intent to intrude upon users'
27
     seclusion and invade their constitutional privacy.
28
                                             26
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1            181.      As described herein, The Defendants have intruded upon the following legally
2    protected privacy interests:

3                      a. The California Invasion of Privacy Act as alleged herein;
                       b. The California Comprehensive Data Access and Fraud Act as alleged
4
                          herein;
5
                       c. A Fourth Amendment right to privacy contained on personal computing
6
                          devices, including web-browsing history, as explained by the United States
7                         Supreme Court in the unanimous decision of Riley v. California;
8                      d. The California Constitution, which guarantees Californians the right to
9                         privacy;

10           182.      The Defendants' Privac y Policy and policies referenced therein and other

11
     public promises it made not to track or intercept Plaintiffs' communications or access their
     computing devices and web-browsers while in a private browsing session.
12
             183.      Plaintiffs had a reasonable expectation of privacy under the circumstances in
13
     that Plaintiffs could not reasonably expect the Defendants would commit unlawful and
14
     offensive acts in violation of federal and state civil and criminal laws, and the Defendants
15   would and do secretly track their communications or access their computing devices.
16           184.      The Defendants' actions constituted a serious invasion of privacy in that it,
17   invaded a zone of privacy protected by the Fourth Amendment, namely the right to privacy in
18   data contained on personal computing devices, including conversations, and other personal
     data.
19
             185.      Violated dozens of state criminal laws on wiretapping and invasion of privacy,
20
     including the Federal Wire Tap Law and The California Invasion of Privacy Act;
21
             186.      Invaded the privacy rights of hundreds of millions of consumers (including
22
     Plaintiffs) without their consent.
23
             187.      Constituted the unauthorized taking of valuable information from hundreds of
24   millions of consumers (including Plaintiffs) through deceit.
25           188.      Further violated Plaintiffs' reasonable expectation of privacy via the
26   Defendants' review, analysis, and subsequent use of Plaintiffs' private conversations and data

27   that Plaintiffs considered sensitive and confidential.

28
                                                27
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1             189.      The surreptitious and unauthorized tracking of the internet communications of
2    Plaintiffs, constitutes an egregious breach of social norms that is highly offensive.

3             190.      The Defendants' invasion of privacy into Plaintiffs' internet communications
     and their computing devices, was highly offensive to a reasonable person in that they violated
4
     federal and state criminal and civil laws designed to protect individual privacy and against
5
     theft.
6
              191.      Following the Defendants' unauthorized interception of the sensitive and
7
     valuable personal information, the subsequent analysis and use of that private data to develop
8    and refine profiles on Plaintiffs violated their reasonable expectations of privacy.
9             192.      Wiretapping and surreptitious recording of communications is highly offensive
10   behavior.

11            193.      The Defendants lacked a legitimate business interest in tracking users while

12
     browsing the internet in incognito mode without their consent.
              194.      Plaintiffs have been damaged by the Defendants' invasion of their privacy and
13
     they are entitled to just compensation and injunctive relief.
14

15
                                        EIGTH CAUSE OF ACTION
16                                   INTRUSION UPON SECLUSION
17                            (All California Plaintiffs Against All Defendants)
18            195.      Plaintiffs reallege and incorporate by reference, as through fully set forth
19   herein, each and every allegation set forth above.

20            196.      Plaintiffs asserting claims for intrusion upon seclusion must plead: "(1)
     intrusion into a private place, conversation, or matter; (2) in a manner highly offensive to a
21
     reasonable person."
22
              197.      In carrying out its scheme to track and intercept Plaintiffs ' communications
23
     while they were using the Temu App/platform, the Defendants violated Plaintiffs' rights to
24   privacy and seclusion.
25            198.      The Defendants intentionally intruded upon Plaintiffs' solitude or seclusion in
26   that it effectively placed itself in the middle of conversations to which it was not an authorized
27   party.

28
                                                 28
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1             199.      The Defendants' tracking and interception were not authorized by Plaintiffs,
2    the Websites, and/or any other third party with which they were communicating with.

3             200.      The Defendants' intentional intrusion into their internet communications and
     their computing devices was highly offensive to a reasonable person in that they violated
4
     federal and state criminal and civil laws designed to protect individual privacy and against
5
     theft.
6
              201.      The taking of personally identifiable information from Plaintiffs through deceit
7
     is highly offensive behavior.
8             202.      Secret monitoring of private web browsing is highly offensive behavior.
9             203.      Wiretapping and surreptitious recording of communications is highly offensive
10   behavior.
11            204.      Plaintiffs have been damaged by the Defendants' invasion of their privacy and

12   are entitled to reasonable compensation including but not limited to disgorgement of profits
     related to the unlawful internet tracking.
13

14                                                   PRAYER
15   WHEREFORE, Plaintiffs respectfully requests that this court:
16                      a. Entry of an order declaring that Defendants' ac tions, as set forth in this
17                         Complaint, violate the law;
18                      b. That the Plaintiffs be awarded all costs and litigation expenses incurred in
19                         bring this action;
20                      c. For reasonable attorneys' fees and costs incurred in bringing t his action;
21                      d. A judgment in favor of Plaintiffs awarding them appropriate monetary relief,
22                         including actual and statutory damages, including statutory damages under
23                         the CDAFA, punitive damages, attorney fees, expenses, costs, and such
24                         other and further relief as is just and proper.
25                      e. Entry of judgment in favor of Plaintiffs awarding compensatory damages,
26                         including statutory damages where available, to Plaintiffs and each of
27                         them, against Defendants for all damages sustained as a result of
28
                                                 29
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1                      Defendants ' wrongdoing, in an amount to be proven at trial, including
2                      interest thereon;
3                  f. Award Plaintiffs pre- and post-judgment interest;
4                  g. Award Plaintiffs their costs of suit, including reasonable attorneys' fees and
5                      expenses;
6                  h. Order disgorgement of all of Defendants 'profits that were derived, in whole
7                      or in part, from the Defendants' interception and subsequent use of
8                      Plaintiffs' communications;
9                  i. Award punitive damages in an amount to prevent Defendants ' further
10                     misconduct;
11                 j. Entry of a permanent injunction, including public injunctive relief, enjoining;
12
                   k. Grant Plaintiffs such further relief as the Court deems appropriate. Plaintiffs
13
                       and each of them seek an award of actual damages to be determined at trial.
14

15
                                       JURY TRIAL DEMAND
16         Plaintiffs demand a trial by jury of all issues so triable.
17

18

19                                                 POTTER HANDY, LLP

20
     Dated: March 18, 2025                      _______________________________________
21                                              Krista Hemming
                                                Attorneys for Plaintiffs
22

23

24

25

26

27

28
                                          30
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     TEMUlit@potterhandy.com
     Attorneys for Plaintiffs

                                  COMPLAINT: Attachment 1
               VICTOR SMITH, ET AL., V. WHALECO, INC., d/b/a TEMU, ET AL.,


       2   Bernadette Solorzano                AL      35      Eileen Fitzhugh             AR
       3   Brenda McCall                       AL      36      Kim Trantham                AR
       4   Chris Lee                           AL      37      Lanelda George Tilley       AR
       5   Darcy Moseley                       AL      38      Lesia Floyd                 AR
       6   Deloris Carmichael                  AL      39      Linda Owens                 AR
       7   Denise Atchley                      AL      40      Tanya Duckworth             AR
       8   Domonique Mann                      AL      41      Vanessa York                AR
       9   Essex Mason                         AL      42      Veronica Woods              AR
      10   Glynnis Brown                       AL      43      Walter Gayle                AR
      11   Iandrea Wiggins                     AL      44      Alan Malott                 AZ
      12   Jasmine Williams                    AL      45      Angela Delgado              AZ
      13   Jay Swiatek                         AL      46      Brenda Kaehler              AZ
      14   Jill Suggs                          AL      47      Brian Richardson            AZ
      15   Joseph Kizziah                      AL      48      Daniel Stewart              AZ
      16   Judy Tisdale                        AL      49      Debbie Leigh                AZ
      17   Karen Houston                       AL      50      Edward Collins              AZ
      18   Kristin Foreman                     AL      51      Iris Spector                AZ
      19   Linda Mott                          AL      52      Iwona Boyce                 AZ
      20   Marie Grooms                        AL      53      Jean Tah                    AZ
      21   Megan Foster-Cooper                 AL      54      Jeri Watson                 AZ
      22   Michelle Russell                    AL      55      John Penson                 AZ
      23   Mikayla Hardin                      AL      56      Jonathan Boggs              AZ
      24   Patricia Fortner                    AL      57      Maria Baca                  AZ
      25   Rita Nash                           AL      58      Michelle Pegors             AZ
      26   Savannah Glover                     AL      59      Oladele Falore              AZ
      27   Sheryl Durrell                      AL      60      Rhonda Huston               AZ
      28   Tiffany Early                       AL      61      Sandi Wilk                  AZ
      29   Venus Smith                         AL      62      Suzi Schor                  AZ
      30   Wanda Colquitt                      AL      63      Vickie Blades               AZ
      31   Candice Crawford                    AR      64      Wanda Street-Salay          AZ
      32   Debbie Pole                         AR      65      Alan Chale                  CA
      33   Donald Tichenor                     AR      66      Angela Cook                 CA
      34   Donna Garrett                       AR      67      Angie Sheppard              CA




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     68    Anke McCrea                  CA      112     Lanetta Woods                 CA
     69    Ashlee Mahoney               CA      113     Liliana Nurinda-Golden        CA
     70    Beverly Burney               CA      114     Lynette Schreiner             CA
     71    Bhupinder Rai                CA      115     Malinda Millon                CA
     72    Bonnie Jensen                CA              Maria Theresa Pangalilingan
     73    Bria Stewart                 CA      116     Tabhan                        CA
     74    Brian Best                   CA      117     Mark Alston Sr.               CA
     75    Bryan Siqueiros              CA      118     Matthew Grooms                CA
     76    Charles Morgan               CA      119     Michele Austin                CA
     77    Cheryl Miles                 CA      120     Nancy Carter                  CA
     78    Cynthia Hopson               CA      121     Natalihn Tolentino            CA
     79    Cynthia Rubio                CA      122     Nina Walls                    CA
     80    Deborah Fonderson            CA      123     Ozzie Silva                   CA
     81    Deborah Huff                 CA      124     Pamela Hansen                 CA
     82    Deborah Lewis                CA      125     Patricia Gonzalez             CA
     83    Dennis Merritt               CA      126     Phyllis Stane                 CA
     84    Derrick Young                CA      127     Phyllis Stennis               CA
     85    Elena Garcia                 CA      128     Priscilla McGarci             CA
     86    Elyse Toney                  CA      129     Richard King                  CA
     87    Erin Soohoo                  CA      130     Robert Daniels                CA
     88    Esmeralda Martinez           CA      131     Robert Varela                 CA
     89    Ethan Tran                   CA      132     Sasha Annis                   CA
     90    Eugene Miller                CA      133     Sherae Drake                  CA
     91    Evelyn Hill                  CA      134     Sovann Dowling                CA
     92    Gabriel Rivera               CA      135     Susan Macklin                 CA
     93    Gloria Castillo              CA      136     Susan Scalcucci               CA
     94    Iris Castaneda               CA      137     Taijanae Henderson            CA
     95    Jaimee Morland               CA      138     Teresa Gill                   CA
     96    James Bidwell                CA      139     Teresa Wood                   CA
     97    James Hansen                 CA      140     Tina Santana                  CA
     98    Janice Williams              CA      141     Toni Jordan                   CA
     99    Janie Jones                  CA      142     Tracie Lewis                  CA
     100   Jc Cohee                     CA      143     Tymesha Coleman               CA
     101   Jenny Treloar                CA      144     Zia Hicks                     CA
     102   Jessica To                   CA      145     Angel Aladwani                CO
     103   Joseph Duenas                CA      146     Beverly Windorski             CO
     104   Joy Mello                    CA      147     Candice Clark                 CO
     105   Karen Eubanks                CA      148     Geremy Brown                  CO
     106   Karen Moeller                CA      149     Jason McGee                   CO
     107   Keisha Jackson               CA      150     Michelle Morin                CO
     108   Keya Kidd                    CA      151     Patricia Spiegel              CO
     109   Kimberly Taylor              CA      152     Robin Dugan                   CO
     110   Kyle Starks                  CA      153     Sterling Roberts              CO
     111   Lamar Sampson                CA      154     Wendy A. Grandestaff          CO
                                                155     Daniel Blancato               CT



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     156   Doreen Bonhorst                 CT      200     Sandra Frost                 FL
     157   Jennifer Mullin                 CT      201     Sean French                  FL
     158   Marcia Watson                   CT      202     Shandra Merrick              FL
     159   Shelley Mitchell                CT      203     Sharon Dexter                FL
     160   Jeannie Green                   DE      204     Sherry Nestleroaf            FL
     161   Temple Betterley                DE      205     Shirley Brown                FL
     162   Aiden Reitenbaugh               FL      206     Starr Geiger                 FL
     163   Andres Aguirre                  FL      207     Stuart Pressman              FL
     164   Barbara Jackson                 FL      208     Tamara Edwy                  FL
     165   Barbara Moorer                  FL      209     Tamara Squires               FL
     166   Bridget Tally                   FL      210     Tammy Blackburn              FL
     167   Calmeka Bryant                  FL      211     Terri Kleinsmith             FL
     168   Candice Jeudy                   FL      212     Theresa Shockley             FL
     169   Carlos Rivera                   FL      213     Theresa Stevens              FL
     170   Catherine Satterfield           FL      214     Thomas Cardinal              FL
     171   Charles Roberts                 FL      215     Tricia Amiel                 FL
     172   Chenell Washington              FL      216     William Muse                 FL
     173   Cherie Van Horn                 FL      217     Allan Repetto                GA
     174   Cindy Morgan                    FL      218     Beverly Puckett              GA
     175   Crystal Martin                  FL      219     Cathy Day                    GA
     176   Dana Blair                      FL      220     Celestine Christie           GA
     177   Deborah Perica                  FL      221     Clessie Edwards              GA
     178   Dominic Angevine                FL      222     Danny Watts                  GA
     179   Doyle Foster                    FL      223     David Purdy                  GA
     180   Elizabeth Watkins               FL      224     Debra Perry                  GA
     181   Elva Albarron                   FL      225     Dewight Lawson               GA
     182   Gloria Pusicz                   FL      226     Julie Carter                 GA
     183   Janis Rittenhouse               FL      227     Katie Cartet                 GA
     184   Jennifer Jacquez                FL      228     Kishana Hooks                GA
     185   Joyce Williams                  FL      229     Kurt Morgan                  GA
     186   Karen Groover                   FL      230     Lagonda Dukes                GA
     187   Lisa Mcdermott                  FL      231     Lavon Williams               GA
     188   Lorena Williams                 FL      232     Martha Fountain              GA
     189   Luann Mannino                   FL      233     Mary Jacobs                  GA
     190   Luxembeau Bazin                 FL      234     Michael Lare                 GA
     191   Marian Kloter                   FL      235     Patricia Freeman             GA
     192   Marvin Chadwick                 FL      236     Robby Davis                  GA
     193   Mary Brown                      FL      237     Sylvia Gibson                GA
     194   Michael Dewitt                  FL      238     Tamara Walker                GA
     195   Michael Rizzo                   FL      239     Tara Foures                  GA
     196   Michelle Williams               FL      240     Timothy Harrold              GA
     197   Randy Spinks                    FL      241     Erika Laws                   HI
     198   Roger Lanham                    FL      242     Lisa Kaaekuahiwi             HI
     199   Sandi Passante                  FL      243     Deborah Kelly                IA




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     244   Eva Moriarty                    IA      288     David Colburn              IL
     245   Heather Gray                    IA      289     David Kmiec                IL
     246   Theresa Ragsdale                IA      290     David Love                 IL
     247   Dianna Best                     ID      291     Dawn Cook                  IL
     248   Wendi Callea                    ID      292     Deborah McDaniel           IL
     249   Adrian Turner                   IL      293     Deborah Williams           IL
     250   Akeem Rice                      IL      294     Debra Ashley               IL
     251   Alberta Davis                   IL      295     Denise Ewing               IL
     252   Alonetta Jackson                IL      296     Denise Schlitt             IL
     253   Amanda Chilson                  IL      297     Dennis Gromov              IL
     254   Amanda Walsh                    IL      298     Derek St. Peters           IL
     255   Amber Bagliere                  IL      299     Deshauna Lenoir            IL
     256   Amy Martinez                    IL      300     Dheeraj Lalwani            IL
     257   Angela Caldwell                 IL      301     Donna Fickas               IL
     258   Anna Girardi                    IL      302     Dora Perez                 IL
     259   Annette Bass                    IL      303     Dustin Middleton           IL
     260   Antonio Morris                  IL      304     Dustin Viveros             IL
     261   Antonio Portis                  IL      305     Dylan Thompson             IL
     262   April Strong                    IL      306     Ebony Blade                IL
     263   Astrid Galeano                  IL      307     Erika White                IL
     264   Audrey Butt                     IL      308     Felicia Kemp               IL
     265   Ayani Good                      IL      309     Gabriela Moretti           IL
     266   Barb Groth                      IL      310     Georgia Patton             IL
     267   Bradley Rusterholz              IL      311     Geraldine Haywood          IL
     268   Brian Jones                     IL      312     Glenda Brown               IL
     269   Brianna Champ Emry              IL      313     Grace Hare                 IL
     270   Bridget Gray                    IL      314     Grace McMurtry             IL
     271   Carl Johnson                    IL      315     Gregory Bridges            IL
     272   Carlene Ackley                  IL      316     Guy Hackworth              IL
     273   Celestine Pearman               IL      317     Harold Humphrey            IL
     274   Charlene Davis Fairchild        IL      318     Ignacio Lopez              IL
     275   Charles Malone                  IL      319     Iris Bossdroughns          IL
     276   Christa Martin                  IL      320     Iveth Rodriguez            IL
     277   Christine Busch                 IL      321     Jenel Henry                IL
     278   Christine Mather                IL      322     Jennifer Montz             IL
     279   Clarice Woods                   IL      323     Jeremiah Washington        IL
     280   Constance Madison               IL      324     Jeremy Pope                IL
     281   Courtney Case Sweeney           IL      325     Jessica Cruz               IL
     282   Cynthia Tucker                  IL      326     Jessie Pitts               IL
     283   Cynthia Weems                   IL      327     Joann Henderson            IL
     284   Daniell Burke                   IL      328     John Liebich               IL
     285   Danielle Stanton                IL      329     Joseph Poe                 IL
     286   Daphne Hawthorne                IL      330     Joshua Senese              IL
     287   Darneisha Smith                 IL      331     Joyce Holdiman             IL




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     332   Joyce Jackson                   IL      376     Melinda True                IL
     333   Karen Mclaughlin-Sanders        IL      377     Melissa Hannay              IL
     334   Karley Wood                     IL      378     Melissa Oenning             IL
     335   Katherine Brito                 IL      379     Melody Schoon               IL
     336   Katherine Gregory               IL      380     Michael Allis               IL
     337   Kathryn Peoples                 IL      381     Michael Fagg                IL
     338   Kene Brown                      IL      382     Michael Lewis               IL
     339   Kenneth Burch                   IL      383     Michael Lufrano             IL
     340   Kim Kozak                       IL      384     Michael Shutt               IL
     341   Kristin Plata                   IL      385     Michael Ubert               IL
     342   Lamonica Sims                   IL      386     Michael V. Smith            IL
     343   Laninja Tillman                 IL      387     Michelle Eeten              IL
     344   Larry Rosin                     IL      388     Michelle Lyduch             IL
     345   Laura Dickson                   IL      389     Micki Kipfer                IL
     346   Laura Migala                    IL      390     Mike C. Ward                IL
     347   Laurie Lantgen                  IL      391     Mindy Horton                IL
     348   Lazerick Jones                  IL      392     Mya Fedorev                 IL
     349   Ledon Brown                     IL      393     Myron Ashford               IL
     350   Lee Katznelson                  IL      394     Natasha Lewis               IL
     351   Lee Page                        IL      395     Nathaniel Jordan            IL
     352   Leticia Del Valle               IL      396     Nicole Lacruze              IL
     353   Liliana Cornejo                 IL      397     Nicole Mason                IL
     354   Linda Farar                     IL      398     Nikesha Johnson             IL
     355   Linda McDaniel                  IL      399     Nina Mason                  IL
     356   Linda Phelps                    IL      400     Nygira Grant                IL
     357   Linde McCloud                   IL      401     Patrice Binion              IL
     358   Lisa Davis                      IL      402     Patrick Glowacki            IL
     359   Lissette Byrne                  IL      403     Patsy Hovis                 IL
     360   Lori Wicker                     IL      404     Pepper Elam Exxx            IL
     361   Lorren Wendell                  IL      405     Rachel Burns                IL
     362   Lou ann Gunner                  IL      406     Ramona Gentry               IL
     363   Mailika Rowry                   IL      407     Ravonda Fisher              IL
     364   Malerie Harris                  IL      408     Reginald Norris             IL
     365   Marilyn Lane                    IL      409     Renee Harris                IL
     366   Marion Meyers                   IL      410     Renee Jones                 IL
     367   Mark Burgess                    IL      411     Rhoda Cox                   IL
     368   Marla Cradduck                  IL      412     Rhonda Harper               IL
     369   Marquita Kippers                IL      413     Rhonda Harris               IL
     370   Martha Carpenter                IL      414     Richard Allen Jr.           IL
     371   Mary Dickson                    IL      415     Robin Carter                IL
     372   Mary Hurtado                    IL      416     Ronald Kniker               IL
     373   Mary Hyde                       IL      417     Ronnie Stiverson            IL
     374   Mekhi Byrd                      IL      418     Roshunda Burrell            IL
     375   Melanie Arnold                  IL      419     Sara Roberson               IL




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     420   Sara Suifan                     IL      464     Nathaniel Lewis            IN
     421   Sarah Cox                       IL      465     Paula Farrell              IN
     422   Sarah Donahue                   IL      466     Shaylee Young              IN
     423   Sattoria West                   IL      467     Stacy Hannah               IN
     424   Shalamar Shelby                 IL      468     Thelma Perkins             IN
     425   Shanta Price                    IL      469     Thermon Peters             IN
     426   Sherri Henderson                IL      470     Tracy Gales                IN
     427   Shona Dudley                    IL      471     Zachary Scherwin           IN
     428   Shunda Tolliver                 IL      472     Shirley Woodburn           KS
     429   Sonya Pegues Jackson            IL      473     Tara Stewart               KS
     430   Stacey Madlock                  IL      474     Virgina Biaknell           KS
     431   Stephany Dickson                IL      475     Blondale Jones             KY
     432   Steven Rendon                   IL      476     Brandi Tackett             KY
     433   Steven Robinson                 IL      477     Brandy Wales               KY
     434   Susan Salgado                   IL      478     Charles Massey             KY
     435   Sylvia Byerley                  IL      479     Cheryl Bradford            KY
     436   Sylvie Rossi                    IL      480     Claude Anderson            KY
     437   Tama Jennings                   IL      481     Danielle Cunningham        KY
     438   Tameka White                    IL      482     Elsia Ballenger            KY
     439   Taylor Hicks                    IL      483     Felicia Tolson             KY
     440   Tazha Benedito                  IL      484     Heather Estep              KY
     441   Thania Hernandez                IL      485     Jessica Filback            KY
     442   Theresa Shanks-Nation           IL      486     Kara Barr                  KY
     443   Tim Goings                      IL      487     Lila Wilkinson             KY
     444   Tim King                        IL      488     Micheal L. Hays            KY
     445   Tim Morgason                    IL      489     Michele Cyrus              KY
     446   Toka Lane                       IL      490     Robert Vaughn              KY
     447   Twila Hugger                    IL      491     Stephanie Ballard          KY
     448   Vicky Foster                    IL      492     Tabitha Goonenposey        KY
     449   Zachary Cottingham              IL      493     Beverly Gibson             LA
     450   Ann Fink                        IN      494     Cheryl George              LA
     451   Brenden Mathis                  IN      495     Dawn Brinston              LA
     452   Candice Cain                    IN      496     Debbie Willis              LA
     453   Chanta Dennis                   IN      497     Jowanna Hudson             LA
     454   Cyndi Lynch                     IN      498     Linda Stortz               LA
     455   Elisha Sparks                   IN      499     Nadine Begley              LA
     456   Ian Barnes                      IN      500     Shirley Feet               LA
     457   Janet King                      IN      501     Tamika Lawton              LA
     458   Jennifer Ferrell                IN      502     Tammy Bryant               LA
     459   Jesse Cooper                    IN      503     Traci Mccrell              LA
     460   Leslie Schwartz                 IN      504     Connie Steriti             MA
     461   Lisa Schultz                    IN      505     Daniel Bigda               MA
     462   Matthew Ferguson                IN      506     Donna Brietzke             MA
     463   Mocha Myers                     IN      507     Gerry Reardon              MA




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     508   Joe Alves                     MA       552     Sylvia Wood                 MI
     509   Linda Pegnato                 MA       553     Tarah Flicek                MI
     510   Michael Wright                MA       554     Breann Smith                MN
     511   Mike Scribner                 MA       555     Doris Fike                  MN
     512   Peter Breykin                 MA       556     Heidi Yoch                  MN
     513   Antonio Thomas                MD       557     Jennifer Steinert           MN
     514   Ashley Reedy                  MD       558     Jim Powell                  MN
     515   Crystal Jenkins               MD       559     Joe Habeck                  MN
     516   Deborah Thompson              MD       560     Joshua Jesmer               MN
     517   Pat Long                      MD       561     Kahlilah Armstrong          MN
     518   Pier Thompson                 MD       562     Kathleen Butterfield        MN
     519   Sadai Castaneda               MD       563     Kristi Cottrell             MN
     520   Susan Mills                   MD       564     Linda Wagar                 MN
     521   Chelsea Depalma               ME       565     Marilyn Warne               MN
     522   Richard Hibbard               ME       566     Nashawn Patrice Williams    MN
     523   Trisha King                   ME       567     Pamela Lubbers              MN
     524   Amanda Shorter                MI       568     Shane Buck                  MN
     525   Anita Underwood               MI       569     Tammy Gorron                MN
     526   Brenda Johnson                MI       570     Teri Ivy                    MN
     527   Carrie Johnston               MI       571     William Cummins             MN
     528   Cathy Digue                   MI       572     Ashleigh Craven             MO
     529   Colleen Smith                 MI       573     Barbara Koplin              MO
     530   Crystal Rench                 MI       574     David salmons               MO
     531   Daryl Favors                  MI       575     Donna wild                  MO
     532   Deborah Forbush               MI       576     Jeanne Wagoner              MO
     533   Gail Malbouef                 MI       577     Jenise Caskey               MO
     534   Gwendolyn Wynn                MI       578     Josephine Pace              MO
     535   Holly Hallack                 MI       579     Karla Dorch                 MO
     536   Jennifer Deloy                MI       580     Lord douglas Woolsey        MO
     537   Karen Simons                  MI       581     Louisa Wallis               MO
     538   Kathy Kapusniak               MI       582     Lucille Rená Hamilton       MO
     539   Lexi Jackson                  MI       583     Maranda Dimmitt             MO
     540   Lolithea Denham               MI       584     Maria Clark                 MO
     541   Lori Spiegel                  MI       585     Mary Pyle                   MO
     542   Mary Logan                    MI       586     Mattie Bailey               MO
     543   Pache Wright                  MI       587     Nicole Bolton               MO
     544   Paul Pate                     MI       588     Patricia Alcanter           MO
     545   Randall Koss                  MI       589     Patricia Boy                MO
     546   Richard Peters                MI       590     Pauline Spaulding           MO
     547   Shalom Calhoun                MI       591     Samantha L. Walls           MO
     548   Sherry Hershberger Hunt       MI       592     Terena Taff                 MO
     549   Sidney Gaines                 MI       593     Tracy Roberts               MO
     550   Susan Verderame               MI       594     Angela Thomas               MS
     551   Suzanne Shepherd              MI       595     Carolyn Rawson              MS




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     596   Celia Williams                  MS      640     Cheryl Jabado              NJ
     597   Frances Madison                 MS      641     Dawn Corbin                NJ
     598   Jama Barnes                     MS      642     Giellana Sahin             NJ
     599   James Brown                     MS      643     Hossni Moustafa            NJ
     600   Kendra Douglas                  MS      644     Kishan Ravani              NJ
     601   Kini Bradford                   MS      645     Michael Klopp              NJ
     602   Korcis McMillian                MS      646     Migdalia Quiles            NJ
     603   Latashia Dickey                 MS      647     Nancie ann Barrios         NJ
     604   Robert Wallace                  MS      648     Nicholas Kuntz             NJ
     605   Santequia Ngwu                  MS      649     Rachael Connell            NJ
     606   Sherry Cooper                   MS      650     Reginald Troup             NJ
     607   Shirley Cox                     MS      651     Robert Walsh               NJ
     608   Tammy Sweeney                   MS      652     Valerii Eidlin             NJ
     609   Timothy Moore                   MS      653     Denise Schubbe             NM
     610   Tressa Motes                    MS      654     Diane Grijalva             NM
     611   Vanessa Holmes                  MS      655     Terri Narlock              NM
     612   Barbara Budell                  MT      656     Yvette Sammons-Rentz       NM
     613   Cheri Pettit                    MT      657     Dane Schubitzke            NV
     614   John Castillo                   MT      658     Jackie Wesley              NV
     615   Kristy Mclain                   MT      659     Jared Kaecker              NV
     616   Annie Johnson-Hadley            NC      660     Jeffrey Manning            NV
     617   Barbara L Beaufort              NC      661     Kenneth Lema               NV
     618   Brandonki Kirksey               NC      662     Kenneth Pettit             NV
     619   Cheryl Cline                    NC      663     Kenya Mills                NV
     620   Diane Adubato                   NC      664     Lenny Dutzik               NV
     621   Jeffrey Barrus                  NC      665     Lisa Johnson               NV
     622   Karen Richardson Sanders        NC      666     Mcray Sharpe               NV
     623   Karessa Daniels                 NC      667     Rachel Debise              NV
     624   Lawrence Siler                  NC      668     Shannon Williams           NV
     625   Linda Moody                     NC      669     Summer Coyne Peterson      NV
     626   Lisa Wauchope                   NC      670     Tami Bereta                NV
     627   Otis Pearson                    NC      671     Timothy Robinson           NV
     628   Phillip Rowand                  NC      672     Tonya Bass                 NV
     629   Robin Duncan-Smith              NC      673     Yolandria Green            NV
     630   Taswanda Wiggins                NC      674     Amber Baum                 NY
     631   Tiffany Woodard                 NC      675     Anita Jacobs               NY
     632   Tijuana Lewis                   NC      676     Aravinda Morant            NY
     633   Victoria Ochoa                  NC      677     Charrisse Jacklin          NY
     634   Kimberly Barnett                NE      678     Elena Cintron              NY
     635   Tom Wisbey                      NE      679     Francisco Herrera          NY
     636   Anthony Perrino                 NH      680     Jackie Moule               NY
     637   Debra Hargon                    NH      681     James Turner               NY
     638   John Carbaugh                   NH      682     James Vargas               NY
     639   Maribeth Reagan                 NH      683     Jeffrey Oconnell           NY




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     684   John Stewart                   NY      728     Lacey Gibson                OK
     685   Justin Latulip                 NY      729     Lillian Michele Gray        OK
     686   Kelly Wares                    NY      730     Lisa Henderson Allen        OK
     687   Kenneth Sloper                 NY      731     Mahir Hasan                 OK
     688   Maria Tsaklanos                NY      732     Nicole Perry                OK
     689   Maritza Estrada                NY      733     Pam Whitehead               OK
     690   Molly Sterrs                   NY      734     Richard Moore-Forsyth       OK
     691   Nakecia Dorcelet               NY      735     Ronico Pratt                OK
     692   Pedro Espiritu                 NY      736     Shauna Rowan                OK
     693   Salvatore Giacomazza           NY      737     Shirley Engberg             OK
     694   Shaina Davis                   NY      738     Amanda Killian              OR
     695   Sharon McLaurin                NY      739     Brian Shaw                  OR
     696   Stephen Morrison               NY      740     Chad Mead                   OR
     697   Steven Guiffre                 NY      741     Charisse Haskins            OR
     698   Valerie Woods                  NY      742     Daniel Wimberly             OR
     699   Xaranique Harrison             NY      743     Deidre Moline               OR
     700   Anna Stayman                   OH      744     Dominique Hodges            OR
     701   Barbara McIlvain               OH      745     Georgeanna Hakimi           OR
     702   Darrin Mishler                 OH      746     Gerardo Aguilar             OR
     703   Donald Wood                    OH      747     Jaime Hebard                OR
     704   Frank Hatcher                  OH      748     Joni Hays                   OR
     705   Gregory Kirk                   OH      749     Joseph Yost                 OR
     706   Heather Hancock                OH      750     Karen Smith                 OR
     707   James Lucas                    OH      751     Katrina Ford                OR
     708   Joyce Depew                    OH      752     Kenneth Brackin             OR
     709   Katherine Montague             OH      753     Kevin Richardson            OR
     710   Kathy Wright                   OH      754     Lottie Dilley               OR
     711   Latoya Whitmore                OH      755     Melinda Crepin              OR
     712   Lisa Culbreth                  OH      756     Rachael Kelly               OR
     713   Melanie Gannon                 OH      757     Rebecca Allen               OR
     714   Melanie Shaner                 OH      758     Robert Brown                OR
     715   Sabrina Bailey                 OH      759     Stacie Quinton              OR
     716   Shawn Mattison                 OH      760     Stephanie Garcia            OR
     717   Stacey Davidoff                OH      761     Teresa Uriarte              OR
     718   Tamala Green                   OH      762     Tina Thomas                 OR
     719   Tamara Abrams                  OH      763     Trista Burnett-Meade        OR
     720   Tanya Chisolm                  OH      764     Wendy Lopez                 OR
     721   Tracey Maddux                  OH      765     Barbara Moore               PA
     722   Vanessa Jones                  OH      766     Bobbii Knorr                PA
     723   Anita Kilgore                  OK      767     Ceaser Kelly                PA
     724   Audra Scott                    OK      768     Cindy Baker                 PA
     725   Charlene Cosby                 OK      769     David Gavronsky             PA
     726   James Thomas                   OK      770     David Smith                 PA
     727   Justin Gocke                   OK      771     Debora McCoy                PA




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     772   Deborah Johnston              PA      816     Sharyl Dixon               SC
     773   Dorreen Dedominicis           PA      817     Vanessa Stuckey            SC
     774   Heath Black                   PA      818     Susan Qualm                SD
     775   Ian Kirby                     PA      819     Alisa Greathouse           TN
     776   Jalisa Coles                  PA      820     Barbara Williams           TN
     777   Jennifer Milks                PA      821     Belinda Hopkins            TN
     778   Jon Graham                    PA      822     Bridgette Edmond           TN
     779   Justin Rutledge               PA      823     Cathy Scott                TN
     780   Larissa Beattie               PA      824     Cece Lopez                 TN
     781   Linda Garner                  PA      825     Charalette Smith           TN
     782   Lisa Guy                      PA      826     Charlene Kingrea           TN
     783   Lynette Tucker                PA      827     Charlotte Vaughn           TN
     784   Lynn Rotzell                  PA      828     Charmeal Alexander         TN
     785   Lynn Rush                     PA      829     Christie Bishop            TN
     786   Marcella Greenly              PA      830     Crystal Oates              TN
     787   Mary McGinty                  PA      831     Dianne Jones               TN
     788   Melanie Harvey                PA      832     Helena Obrien              TN
     789   Michael Geoghegan             PA      833     Holly Boone                TN
     790   Michelle Phillips             PA      834     Jeff Murray                TN
     791   Nancy Phillips                PA      835     Kim Wilson                 TN
     792   Nancy Tracy                   PA      836     Laquita Taylor             TN
     793   Patricia Walters              PA      837     Levi Stigall               TN
     794   Paula Bloom                   PA      838     Louise Wilson              TN
     795   Rachel Lattieri               PA      839     Melissa Church             TN
     796   Ralph Myers                   PA      840     Norma Fults Myers          TN
     797   Rhonda Ransom                 PA      841     Patricia Joyce             TN
     798   Robert Fink                   PA      842     Paula Thomas               TN
     799   Sharon Bennetti               PA      843     Quintina Oates             TN
     800   Tonya Anderson                PA      844     Raquel Martinez            TN
     801   Tonya Turner                  PA      845     Rebekah Kiddy              TN
     802   Tracy Adams                   PA      846     Tammy Hawkins              TN
     803   Wendy Fazel                   PA      847     Thomas Collins             TN
     804   Joseph Nascenzi               RI      848     Virginia Roges             TN
     805   Kari McDonald                 RI      849     Wilma Boggs                TN
     806   Kristin Fisher                RI      850     Allen Nichols              TX
     807   Cinnamon Minshall             SC      851     Amelia Wilson              TX
     808   Deadrene McHoney              SC      852     Amy Fangmann               TX
     809   Edna Bridges                  SC      853     Angie Brunton              TX
     810   Frank C. Kelley               SC      854     Awais Ahmed                TX
     811   Henry Hatcher                 SC      855     Barry Denton               TX
     812   Kevin Robinson                SC      856     Bert Phillips              TX
     813   Lakwyia Miller                SC      857     Caesar Rodriguez           TX
     814   Latashia Green                SC      858     Caleen Macleod             TX
     815   Lisa Costello                 SC      859     Cedric Lewis               TX




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     860   Christopher Bradburry           TX      904     Jerri Moore                 VA
     861   Cindy Strnadel                  TX      905     Joshua Braswell             VA
     862   Cora Gibson                     TX      906     Linda Burton                VA
     863   Courtney Sanders                TX      907     Mary Brewster               VA
     864   Dan Wimberly                    TX      908     Pamela Lane                 VA
     865   Debbie Connors                  TX      909     Pamela Stalnaker            VA
     866   Debra Bickmore                  TX      910     Ricardo Lamb                VA
     867   Debra Pawloski                  TX      911     Teresa Lambert              VA
     868   Donald Pruitt                   TX      912     Jason Robar                 VT
     869   Douglas Wood                    TX      913     Alicia Whitaker             WA
     870   Felicia Shutts                  TX      914     Ashley Honeysuckle          WA
     871   Hailey Preas                    TX      915     Barbara Zuvich              WA
     872   Hannah Fangmann                 TX      916     Brent Anderson              WA
     873   Jamela Prater                   TX      917     Chetney Hambright           WA
     874   Kimberly Adam                   TX      918     Christian Christian         WA
     875   Larry Hill                      TX      919     Darcy Mugartegui            WA
     876   Lisa Morgan                     TX      920     Darnell Hibbler             WA
     877   Lucianna Womack                 TX      921     David Donaldson             WA
     878   Lucio Lopez                     TX      922     Heather Quinones            WA
     879   Madonna Dunn                    TX      923     Jane Mackey                 WA
     880   Melanie Day                     TX      924     Johnny Gullotto             WA
     881   Michea Davis                    TX      925     Joshua Swearingen           WA
     882   Natasha McKinney                TX      926     Julie Ball                  WA
     883   Nedra Hookfin                   TX      927     Kamla Patton                WA
     884   Olivia Hoskins                  TX      928     Kenneth Buckley             WA
     885   Otto Donis                      TX      929     Lena Carnes                 WA
     886   Priscilla De La Cerda           TX      930     Maria Ramos                 WA
     887   Reginald Wolfe                  TX      931     Maylena Jackson             WA
     888   Rhonda Motley                   TX      932     Michael Lewis               WA
     889   Shana Cogburn                   TX      933     Mike Bilbrey                WA
     890   Sharmon Bond                    TX      934     Misti Mustain               WA
     891   Sonja Lara                      TX      935     Nathan Nichols              WA
     892   Steve Eagle                     TX      936     Nora Rutherford             WA
     893   Susan Mullinnix                 TX      937     Patricia Givens             WA
     894   Tamara Velders                  TX      938     Sean Hughes                 WA
     895   Tamika Miller                   TX      939     Sharrie Singmaster          WA
     896   Tina Syphers                    TX      940     Susan Kepler                WA
     897   Tommy Newsom                    TX      941     Adrienne Toliver            WI
     898   Wanda Lewis                     TX      942     Constance Casebolt          WI
     899   Alvina Mills                    UT      943     Daniel Kerr                 WI
     900   Lea Quidor                      UT      944     Donna Price                 WI
     901   Marcel Thibault                 UT      945     Elizabeth Gonzalez          WI
     902   Tiffaney Valbert                UT      946     Jamie Bulmann               WI
     903   Jacqueline Colbert              VA      947     Jennifer Brennan            WI




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     948   Kimberly Varner           WI
     949   Lori Stuebs               WI
     950   Mellisa Bottine           WI
     951   Mercedes Woods            WI
     952   Nichole Phillips          WI
     953   Rose Ducharme             WI
     954   Wanda Johnson             WI
     955   Beth Skarry               WV
     956   Cindy Hamilton            WV
     957   Diane Sue Harmon          WV
     958   Donald Hamilton           WV
     959   Donna Arnold              WV
     960   Garry Ross                WV
     961   Jessica Wynes             WV
     962   Joshua Simon              WV
     963   Lisa Harless              WV
     964   Loretta Wiles             WV
     965   Matthew Beck              WV
     966   Rachel Bougher            WV
     967   Rebecca Roberts           WV
     968   Robin Phillips            WV
     969   Ronnie Harper             WV
     970   Sam Bailey                WV
     971   Sheila Alford             WV
     972   Terri Jones               WV
     973   Travis Covert             WV
     974   Trish Madsen              WY




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